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                      UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                 Eastern Division

Kendall McClennon
                                  Plaintiff,
v.                                                     Case No.: 1:14−cv−03233
                                                       Honorable Manish S. Shah
City Of Chicago, et al.
                                  Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, October 5, 2017:


        MINUTE entry before the Honorable Manish S. Shah: Pursuant to the stipulation
to dismiss [79], this case is dismissed without prejudice and with leave to reinstate solely
in the event that the Chicago City Council rejects the Release and Settlement Agreement.
Each party shall bear its own costs and attorney's fees. No appearance on 10/6/17 is
necessary. Civil case terminated. Notices mailed. (psm, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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